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 5

 6    Attorneys for Plaintiffs
      SEAN ALLEN, JONA TRBOVICH
 7    and SHONDA SANTOS
 8
                                 UNITED STATES DISTRICT COURT
 9
                     NORTHERN DISTRICT OF CALIFORNIA (SAN JOSE)
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      SEAN ALLEN, et al.                       )    CASE NO.: 5:14-cv-03829-BLF
12                                             )
                   Plaintiffs,                 )    Assigned to Hon. Beth Labson Freeman
13                                             )   25'(5$33529,1*
                                               )   STIPULATION OF DISMISSAL
14    v.                                       )   WITH PREJUDICE FOR
                                               )   PLAINTIFFS SEAN ALLEN,
15                                             )   SHONDA SANTOS, AND JONA
      COUNTY OF SANTA CLARA, et al.            )   TRBOVICH PURSUANT TO
16                                             )   FEDERAL RULE OF CIVIL
                   Defendants.                 )   PROCEDURE 41(a)(1)(A)(ii)
17                                             )
                                               )
18                                                 Complaint Filed: August 25, 2014
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     DISMISSAL WITH PREJUDICE
                                                               CASE NO.: 5:14-CV-03830-BLF
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 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs SEAN ALLEN,
 2 JONA TRBOVICH, SHONDA SANTOS and Defendants the COUNTY OF SANTA CLARA,

 3 DOUGLAS ULRICH, LAURIE SMITH, and MICHAEL MORIN, hereby stipulate and agree that

 4 Plaintiffs SEAN ALLEN, JONA TRBOVICH, SHONDA SANTOS may and hereby do voluntarily

 5 dismiss all claims in this action with prejudice and without an award of costs or fees to any party.

 6

 7                                               Respectfully submitted,
 8 Dated: July 15, 2016                          /s/ Na'il Benjamin
                                                 Na'il Benjamin
 9                                               Attorney for Plaintiff
10

11
                                                 Respectfully submitted,
12
     Dated: July 15, 2016                        ORRY P. KORB
13                                               COUNTY COUNSEL

14                                                     /s/ Gregory Charles
                                                 KARL A. SANDOVAL
15
                                                 GREGORY CHARLES
16                                               Lead Deputy County Counsel

17                                               Attorneys for Defendants
                                                 COUNTY OF SANTA CLARA, DOUGLAS
18                                               ULRICH and LAURIE SMITH
19
     Dated: July 15, 2016                        Respectfully submitted,
20
                                                 ROBINSON & WOOD, INC.
21

22                                                     /s/ Jesse Ruiz
23                                               JESSE F. RUIZ

24                                               Attorneys for Defendants
                                                 MICHAEL MORIN
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     DISMISSAL WITH PREJUDICE
                                                                          CASE NO.: 5:14-CV-03830-BLF
           Case 5:14-cv-03829-BLF Document 86 Filed 08/11/16 Page 3 of 3



 1
     IT IS SO ORDERED.
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            $XJXVW
 4 Date:                        , 2016   _________________________________________
                                                 Judge Beth Labson Freeman
 5                                           UNITED STATES DISTRICT JUDGE

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     DISMISSAL WITH PREJUDICE
                                                           CASE NO.: 5:14-CV-03830-BLF
